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                                                                                                                    FILED
                                                                                                                  U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT ARKANSAS

                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            CENTRAL DIVISION
                                                                                                                                    CLERK

DEBBIE LEE

vs.                                      No. 4:20-cv-.L!/.?--                                       ;8.S'M.

LIGHTHOUSE COMPLIANCE SOLUTIONS, INC.,
and DAVID ANKENY
                                                                                          This case assigned to District

                              ORIGINAL COMPL(00f MagiSt rate Judge
                              ...........................................................................

       COMES NOW Plaintiff Debbie Lee ("Plaintiff') by and through her

attorneys Stacy Gibson and Josh Sanford of the Sanford Law Firm, PLLC, and

for her Original Complaint against Lighthouse Compliance Solutions, Inc., and

David Ankeny (collectively "Defendant" or "Defendants"), she does hereby state

and allege as follows:

                         I.      JURISDICTION AND VENUE

       1.     Plaintiff brings this action under the Fair Labor Standards Act, 29

U.S.C. § 201, et seq. ("FLSA"), and the Arkansas Minimum Wage Act, Ark. Code

Ann. § 11-4-201, et seq. ("AMWA"), for declaratory judgment, monetary

damages, liquidated damages, prejudgment interest, and costs, including

reasonable attorneys' fees as a result of Defendant's failure to pay Plaintiff

proper overtime compensation for all hours that Plaintiff worked.

       2.     The United States District Court for the Eastern District of Arkansas

has subject matter jurisdiction over this suit under the provisions of 28 U.S.C. §

1331 because this suit raises federal questions under the FLSA.

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       3.     Plaintiff's claims under the AMWA form part of the same case or

controversy and arise out of the same facts as the FLSA claims alleged in this

complaint. Therefore, this Court has supplemental jurisdiction over Plaintiff's

AMWA claims pursuant to 28 U.S.C. § 1367(a).

       4.     Defendant conducts business within the State of Arkansas.

       5.     Venue lies properly within this Court under 28 U.S.C. § 1391 (b)(1)

and (c)(2), because the State of Arkansas has personal jurisdiction over

Defendant, and Defendant therefore "resides" in Arkansas.

       6.     The acts alleged in this Complaint had their principal effect within

the Central Division of the Eastern District of Arkansas, and venue is proper in

this Court pursuant to 28 U.S.C. § 1391.

                                 II.      THE PARTIES

       7.     Plaintiff is a citizen, resident and domiciliary of Lonoke County.

       8.     Plaintiff was employed by Defendant as a salaried employee from

May of 2006 to October of 2019.

       9.     At all times material herein, Plaintiff has been entitled to the rights,

protections and benefits provided under the FLSA.

       10.    Separate      Defendant      Lighthouse       Compliance          Solutions,   Inc.

("LCS"), is a domestic, for-profit corporation.

       11.    LCS's registered agent for service is David Ankeny, at 500

President Clinton Avenue, Suite 200, Little Rock, Arkansas 72201.

       12.    Separate Defendant David Ankeny ("Ankeny'') is an individual and

domiciliary of Arkansas.

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       13.     Ankeny is an owner, principal, officer and/or director of LCS.

       14.     Ankeny manages and controls the day-to-day operations of LCS,

including but not limited to the decision to not pay Plaintiff a sufficient premium

for hours worked in excess of forty (40) per week.

       15.     Defendants own and operate a business which provides programs

to ensure compliance with the Office of Federal Contract Compliance Programs. 1

       16.     Defendant has at least two (2) employees that handle, sell, or

otherwise work on goods or materials that have been moved in or produced for

commerce.

       17.     Defendant's annual gross volume of sales made or business done

was not less than $500,000.00 (exclusive of excise taxes at the retail level that

are separately stated) during each of the three calendar years preceding the

filing of this complaint.

       18.     Plaintiff regularly in the course of her work for Defendants handled,

sold, or otherwise worked on goods or materials that had been moved in or

produced for commerce.

       19.     During each of the three years preceding the filing of this Original

Complaint, Defendant continuously employed at least four (4) employees.

                            Ill.   FACTUAL ALLEGATIONS

       20.     Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.




               See https://www.lighthousecompliance.com/, last visited Feb. 26, 2020.

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       21.    At all relevant times herein, Defendant was an "employer" of

Plaintiff within the meaning of the FLSA.

       22.    At all times material herein, Plaintiff has been misclassified by

Defendant as a salaried employee and as exempt from the overtime

requirements of the FLSA, 29 U.S.C. § 207.

       23.    During the period relevant to this lawsuit, Plaintiff worked as a

director of Defendant's applicant tracking system.

       24.    At all relevant times herein, Defendant directly hired Plaintiff to work

in its office, paid her wages and benefits, controlled her work schedule, duties,

protocols, applications, assignments and employment conditions, and kept at

least some records regarding her employment.

       25.    As director of Defendant's applicant tracking system, Plaintiff was

responsible for answering client questions, training users to use Defendant's

software, and updating job postings.

       26.    Plaintiff did not have the authority to hire or fire any other

employee.

       27.    Plaintiff was not asked to provide input as to which employees

should be hired or fired.

       28.    Plaintiff did not exercise independent judgment as to matters of

significance in carrying out her duties.

       29.    Plaintiff regularly worked more than forty (40) hours per week

during the relevant time period.




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       30.    Defendants did not pay Plaintiff one and one-half (1.5) her regular

rate for all hours worked over forty (40) in a week.

       31.    At all relevant times herein, Defendants have deprived Plaintiff of

sufficient overtime compensation for all of the hours she worked over forty (40)

per week.

       32.    Defendants knew or showed reckless disregard for whether their

actions violated the FLSA.

                        IV.   FIRST CAUSE OF ACTION
                        (Claim for Violation of the FLSA)

       33.    Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.

       34.    Plaintiff asserts this claim for damages and declaratory relief

pursuant to the FLSA, 29 U.S.C. § 201, et seq.

       35.    At all times relevant to this Complaint, Defendant has been

Plaintiff's "employer" within the meaning of the FLSA, 29 U.S.C. § 203.

       36.    At all times relevant to this Complaint, Defendant has been, and

continues to be, an enterprise engaged in commerce within the meaning of the

FLSA, 29 U.S.C. § 203.

       37.    29 U.S.C. §§ 206 and 207 require any enterprise engaged in

commerce to pay all employees a minimum wage for all hours worked up to forty

(40) in one week and to pay one and one-half times regular wages for all hours

worked over forty (40) hours in a week, unless an employee meets certain

exemption requirements of 29 U.S.C. § 213 and accompanying DOL regulations.


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           38.   At    all   times    relevant times to          this   Complaint,   Defendant

misclassified Plaintiff exempt from the overtime requirements of the FLSA.

           39.   Despite the entitlement of Plaintiff to overtime payments under the

FLSA, Defendant failed to pay Plaintiff an overtime rate of one and one-half times

her regular rate of pay for all hours worked over forty (40) in each week.

           40.   Defendant's failure to pay Plaintiff all overtime wages owed was

willful.

           41.   By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiff for monetary damages, liquidated damages, and costs, including

reasonable attorneys' fees, for all violations that occurred within the three (3)

years prior to the filing of this.

                             V.     SECOND CAUSE OF ACTION
                              (Claim for Violation of the AMWA)

           42.   Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.

           43.   Plaintiff asserts this claim for damages and declaratory relief

pursuant to the AMWA, Ark. Code Ann.§ 11-4-201, et seq.

           44.   At all times relevant to this Complaint, Defendant was Plaintiffs

"employer'' within the meaning of the AMWA, Ark. Code Ann.§ 11-4-203(4).
                                                                                       ·O



           45.   AMWA Sections 210 and 211 require employers to pay all

employees a minimum wage for all hours worked up to forty in one week and to

pay one and one-half times regular wages for all hours worked over forty hours in

a week, unless an employee meets the exemption requirements of 29 U.S.C. §

213 and accompanying Department of Labor regulations.
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           46.   At all times relevant to this Complaint, Defendant misclassified

Plaintiff as exempt from the overtime requirements of the AMWA.

           47.   Despite the entitlement of Plaintiff to overtime payments under the

AMWA, Defendant failed to pay Plaintiff an overtime rate of one and one-half

times her regular rate of pay for all hours worked over forty (40) in each week.

           48.   Defendant's failure to pay Plaintiff all overtime wages owed was

willful.

           49.   By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiff for monetary damages, liquidated damages, and costs, including

reasonable attorneys' fees, for all violations that occurred within the 3 years prior

to the filing of this Complaint pursuant to Ark. Code Ann. § 11-4-218.

                              VI.      PRAYER FOR RELIEF

           WHEREFORE, premises considered, Plaintiff Debbie Lee respectfully

prays as follows:

           A.    That each Defendant be summoned to appear and answer herein;

           B.    Declaratory judgment that Defendant's practices alleged herein

violate the FLSA and the AMWA;

           C.    Judgment for damages for all unpaid overtime wage compensation

owed under the FLSA and the AMWA;

           D.    Judgment for liquidated damages pursuant to the FLSA and

AMWA;

           E.    For a reasonable attorney's fee, costs, and all interest; and

           F.    Such other relief as this Court may deem just and proper.

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                                                        Respectfully submitted,

                                                        PLAINTIFF DEBBIE LEE

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